         Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 1 of 19




                      IN THE UNITED STATES DISTRICT FOR THE
                           SOUTHERN DISTRICT OF IOWA



NUVASIVE, INC.,                              )
                                             )
         Plaintiff                           )
v.                                           )     Case No. ________________
                                             )
JEFFREY HARRISON,                            )
BEAU DEWALL and                              )
DARIN NEWELL,                                )
                                             )
         Defendants.                         )



                                   VERIFIED COMPLAINT

         By and through its counsel, and for its Complaint against Jeffrey Harrison,

Beau DeWall, and Darin Newell, Plaintiff NuVasive, Inc. states:

                                    NATURE OF ACTION

         1.          NuVasive files this lawsuit because Defendants violated and continue

to violate the common law and contractual obligations they owe to NuVasive (both

during and after their respective employments) by unfairly competing with it. This

unfair competition includes, without limitation, soliciting (with at least some degree

of success) their former NuVasive customers and colleagues on behalf of their new

employer, Howmedica Osteonics Corporation, acting through its Stryker Spine

division (“Stryker Spine”), which is one of NuVasive’s direct competitors.

841963.1/020210529
        Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 2 of 19




Defendants are utilizing NuVasive’s confidential and proprietary information, as

well as the industry-leading training NuVasive provided to them in their raid on its

customers and sales force. In addition to lost revenue, these wrongful acts are

destroying NuVasive’s customer relationships and goodwill.

                                    THE PARTIES

        2.      NuVasive is a Delaware corporation with its headquarters in San Diego,

California. It is a market-leading, innovative designer, manufacturer, and promoter

of products and processes used to treat spinal disease that it markets through a

highly-trained sales force consisting of directly-employed personnel and exclusive

sales agents.

        3.      Defendant Jeffrey Harrison is an individual who resides in and is a

citizen of the State of Iowa. Between June 22, 2015, and May 16, 2021, he marketed

NuVasive’s products, as a direct employee – in the role of a Sales Specialist – to

medical facilities and surgeons within a sales territory in the Southern District of

Iowa.

        4.      Defendant Beau DeWall is an individual who resides in and is a citizen

of the State of Iowa. Between October 1, 2018, and May 16, 2021, he marketed

NuVasive’s products, as a direct employee – first in the role of Sales Associate,

Iowa, and then, as of January 1, 2020, as a Sales Specialist – to medical facilities




                                            2
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 3 of 19




and surgeons within a sales territory in the Southern District of Iowa, and supported

the surgeons’ use of those products in the operating room.

      5.       Defendant Darin Newell is an individual who resides in and is a citizen

of the State of Iowa. Between April 10, 2019, and May 16, 2021, he marketed and/or

assisted in marketing NuVasive’s products, as a direct employee – in the role of a

Sales Associate – to medical facilities and surgeons within a sales territory in the

Southern District of Iowa, and then supported the surgeons’ use of those products in

the operating room.

      6.       NuVasive provided Defendants – two of whom, Defendant DeWall and

Defendant Newell, had no prior experience in the spine industry – with its industry-

leading, proprietary training and entrusted each Defendant with its confidential and

proprietary information during their NuVasive employments. This confidential and

proprietary information includes, without limitation, NuVasive’s pricing, pricing

strategies, sales strategies, competitive information, customer information

(including, without limitation, surgeon preferences), product specifications, and

sales histories and practices, all of which would be of great benefit to NuVasive’s

competitors.

      7.       As a result, at least in part, of the training and confidential information

that NuVasive provided, each Defendant became the face of NuVasive to many of

the surgeons and medical facilities in their NuVasive sales territories.


                                             3
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 4 of 19




      8.    Each Defendant generated goodwill with NuVasive’s current and

prospective customers during their NuVasive employments. NuVasive owns that

goodwill.

            JURISDICTION, VENUE, AND GOVERNING LAW

      9.    The parties are completely diverse, and the amount in controversy is

greater than $75,000, exclusive of interest or costs. Accordingly, this Court has

subject matter jurisdiction pursuant to 28 U.S.C. Section 1332.

      10.   Each Defendant lived in and performed services for NuVasive in the

Southern District of Iowa. Accordingly, this Court has personal jurisdiction over

each Defendant. Additionally, venue is proper in this Court pursuant to 28 U.S.C.

Section 1391(b).

      11.   NuVasive’s claims against Defendant Harrison are governed by Iowa

law, while NuVasive’s claims against Defendant DeWall and Defendant Newell are

governed by Delaware law.

                   FACTS RELEVANT TO ALL COUNTS

Defendants’ contractual obligations to NuVasive

      12.   Each Defendant, as a condition of his employment with NuVasive,

agreed to and signed a Proprietary Information, Inventions Assignment, and Non-

Competition Agreement (“PIIA”). Defendant Harrison signed the January 22, 2013,

version of the PIIA, while Defendant DeWall and Defendant Newell signed the


                                         4
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 5 of 19




January 3, 2016, version. NuVasive attaches copies of Defendant Harrison’s,

Defendant DeWall’s, and Defendant Newell’s PIIAs as Exhibit 1; Exhibit 2; and

Exhibit 3, respectively.

      13.    At the time Defendants terminated their NuVasive employments, they

shared an assigned sales territory (with two other sales professionals) that included

all of the medical facilities in which spine surgeries take place and the spine surgeons

who operate in those facilities in the Des Moines and Waterloo-Cedar Falls

Metropolitan Areas (the “Sales Territory”).

      14.    Section VI of each Defendant’s PIIA provides, among other things, that

they will have access to and obtain knowledge regarding NuVasive’s “Proprietary

Information” (as defined by the PIIA) during their NuVasive employments and that

NuVasive will be irreparably harmed if they were to use that Proprietary Information

to NuVasive’s detriment.

      15.    As promised by the PIIAs, NuVasive granted Defendants access to its

Proprietary Information, and they obtained knowledge of that information during the

course of their NuVasive employments.

      16.    Section VI of Defendants’ PIIAs precludes them from, directly or

indirectly, inducing or influencing, or seeking to induce or influence, any NuVasive

employee, agent, independent contractor, consultant, etc. to join a competitive

business during their NuVasive employments and for one year after those


                                           5
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 6 of 19




employments terminate.       Additionally, Section VI of Defendant Newell’s and

Defendant DeWall’s PIIAs also precludes them from, for the same time period,

soliciting, calling upon, or providing services to any of NuVasive’s Customers (as

that term is defined in Defendants’ PIIAs) in their shared assigned sales territory.

      17.      Section VII of the Defendants’ PIIAs precludes them from competing

with NuVasive, on behalf of a “Conflicting Organization,” within their Sales

Territory during their NuVasive employments and for one year after those

employments terminate.

      18.      Stryker Spine is a Conflicting Organization as defined by Section VII

of the Defendants’ PIIAs.

      19.      The vast majority of spinal hardware companies require their sales

professionals to agree to non-competition and non-solicitation clauses similar to

those found in Sections VI and VII of Defendants’ PIIAs because, without

limitation:

            • the spinal hardware industry is highly competitive;
            • participants in this industry entrust their sales professionals with
              confidential and proprietary information, and (at least in NuVasive’s
              case) proprietary training; and
            • sales professionals often become the face of their employer to the
              employer’s surgeon customers.

      20.      Like Defendants’ new employer, Stryker Spine, NuVasive imposes

one-year, post-employment non-competition and non-solicitation restrictions on its

sales force.     In NuVasive’s experience, assuming that the departing sales

                                          6
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 7 of 19




professional honors his or her restrictive covenants, one year is a sufficient time for

it to replace that departing sales professional and give the new sales professional

sufficient time to develop a relationship with the departing sales professional’s

customers so that he or she can fairly compete with the departing sales professional

after he or she returns to the restricted territory. Additionally, one year is typically

a sufficient time for the relevancy of much of the confidential and proprietary

information NuVasive shares with its sales force to expire.

      21.    As it is important for NuVasive to enjoy the benefits of its bargains with

Defendants, Section XVII of Defendant Harrison’s PIIA and Section XVIII of

Defendant Newell’s and Defendant DeWall’s PIIAs provide that their non-

solicitation and non-competition obligations are tolled for any period of time they

are not in compliance with those obligations.

Defendants’ termination of their NuVasive employments

      22.    Defendants failed to return numerous communications from their

NuVasive supervisors in the ten-day period preceding the date they voluntarily

terminated their NuVasive employments.

      23.    On May 16, 2021, Defendants, without advance warning, terminated

their NuVasive employments, effective immediately. NuVasive attaches copies of

Defendant Harrison’s, Defendant DeWall’s, and Defendant Newell’s resignation

emails as Exhibit 4, Exhibit 5, and Exhibit 6, respectively.


                                           7
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 8 of 19




      24.   Defendants informed the spine surgeons in their collective sales

territory about their plan to leave NuVasive and join Stryker Spine before they

informed NuVasive, and solicited business from some of those surgeons.

      25.   By resigning en masse, Defendants intended to leave (and in fact left)

NuVasive without sufficient personnel to support their Sales Territory, making it

easier for them to convert NuVasive’s business in that Sales Territory to their new

employer, Stryker Spine.

      26.   Shortly before receiving the Defendants’ resignation notices, NuVasive

received a call from a spine surgeon in their sales territory who inquired as to

whether NuVasive had sufficient manpower in the sales territory to support an

upcoming spine surgery.

      27.   Iowa Methodist Medical Center, in Des Moines, Iowa, is a facility that

was within Defendants’ Sales Territory at the time they voluntarily terminated their

NuVasive employments.

      28.   Two of the spine surgeons at Iowa Methodist (the “Methodist

Surgeons”) exclusively (or nearly exclusively) utilized NuVasive’s products when

performing fusion surgeries in (at least) calendar years 2020 and 2021.

Defendants’ violations of the common law and contractual obligations they owe
to NuVasive

      29.   During the last week of           Defendants’ respective NuVasive

employments, the Methodist Surgeons performed some surgeries – that one or more

                                         8
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 9 of 19




of the Defendants supported in the operating room – in which they utilized

NuVasive’s instruments and biologic product(s), but implanted medical devices that,

upon information and belief, were designed and marketed by Stryker Spine (the

“Competitive Implants”).

      30.    In addition to one or more of the Defendants supporting the surgeries,

other individuals associated with Stryker Spine also attended the surgeries described

in the preceding paragraph.

      31.    One or more of the Defendants solicited the Methodist Surgeons to

utilize the Competitive Implants.

      32.    A representative from Iowa Methodist emailed purchase orders for the

Competitive Implants used in at least two of these surgeries to Defendant Harrison.

      33.    Though each Defendant knew that the Methodist Surgeons intended to,

and, in fact, did, utilize Competitive Implants, none of them shared this knowledge

with NuVasive, even though the Methodist Surgeons had not utilized any

competitive medical devices in calendar years 2020 and 2021.

      34.    Defendants did not report the Methodist Surgeons’ use of the

Competitive Implants because they were, at least in large part, responsible for the

Methodist Surgeons’ decisions to utilize the Competitive Implants, and because they

wanted the Methodist Surgeons to support their collective decision to join Stryker

Spine by agreeing to move their business from NuVasive to Stryker Spine.


                                         9
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 10 of 19




         35.    As a result of Defendants’ solicitations of the Methodist Surgeons, the

Methodist Surgeons moved all of their business to Stryker Spine.

         36.    In addition to seeking to convert NuVasive’s business, one or more of

the Defendants, directly or indirectly through Stryker Spine, reached out to one of

NuVasive’s sales professionals in Kansas City, Missouri (who is from Iowa), and

successfully solicited him to leave NuVasive, move to Iowa, and join them at Stryker

Spine.

         37.    Defendants solicited the Kansas City-based sales professional in hopes

that he could help support the business in the Sales Territory they illegally converted

in the event the Court enjoins them from supporting that business.

         38.    As the Kansas City-based sales professional has not yet arrived in Iowa,

Defendant DeWall supported a surgery performed by a NuVasive surgeon customer

(and who the Defendants regularly supported) in the Des Moines, Iowa,

Metropolitan area on behalf of Stryker Spine on May 24, 2021.

Defendants spoliated relevant evidence

         39.    On May 18, 2021, NuVasive instructed Defendants to return their

company-issued electronic devices and not to delete any information contained on

those devices. NuVasive attaches copies of its emails to Defendant Harrison,

Defendant DeWall, and Defendant Newell as Exhibit 7, Exhibit 8, and Exhibit 9,

respectively.


                                            10
         Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 11 of 19




          40.     Defendants ignored NuVasive’s instructions to not delete information

from their company-issued electronic devices and “wiped” those devices of

communications and other materials that, upon information and belief, are relevant

to this lawsuit.

          41.     Defendants knew or should have known that litigation was likely when

they wiped their devices. Further, when they did so, it was with the intent to deprive

NuVasive of information relevant to this dispute.

          42.     In addition to wiping their electronic devices, and in furtherance of their

efforts to shield their communications from NuVasive, Defendants utilized software

applications that encrypted their electronic communications with each other.

          43.     By encrypting their electronic communications with each other and,

upon information and belief, Stryker Spine, and wiping their electronic devices,

Defendants intended to (and did) deprive NuVasive of information that would

support its positions in this dispute.

Defendant Harrison is required to repay certain bonuses and/or advances

          44.     On February 5, 2021, Defendant Harrison and NuVasive agreed to a

compensation plan that, without limitation, set his commission structure and

provided him certain guaranteed bonuses. NuVasive attaches a copy of Defendant

Harrison’s compensation plan as Exhibit 10.1


1
    Exhibit 10 contains confidential information and will be filed under seal once leave is granted.

                                                   11
     Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 12 of 19




      45.    One of the guaranteed bonuses is titled “Compensation Related to

Harrison/DeWall Territory.” This bonus called for Defendant Harrison to receive a

$ [REDACTED] bonus on January 15, 2021, and a $ [REDACTED] bonus on

April 15, 2021. The terms and conditions of this bonus require Defendant Harrison

to repay any payments he received in the twenty-four months prior to the date he

voluntarily terminates his NuVasive employment.

      46.    Not only did NuVasive make the bonus payments described in the

preceding paragraph to Defendant Harrison, it mistakenly paid the January 15, 2021,

bonus twice, meaning that it paid Defendant Harrison a total of $ [REDACTED].

      47.    Defendant Harrison voluntarily terminated his NuVasive employment

of May 16, 2021, but he has not returned the bonus payments.

      48.    Another bonus contemplated by Defendant Harrison’s 2021

compensation plan is titled “Q1 2021 Team Retention Bonus.”              Pursuant to

Defendant Harrison’s 2021 compensation plan, he received a $ [REDACTED]

payment on April 15, 2021, which he is required to return if he voluntarily terminates

his NuVasive employment within twelve months of receiving the payment.

      49.    Harrison, in fact, received the $ [REDACTED] payment pursuant to the

Team Retention Bonus. Harrison has not returned the money to NuVasive.




                                         12
         Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 13 of 19




Defendant DeWall is required to repay certain bonuses and/or advances


          50.     On October 8, 2020, Defendant DeWall and NuVasive agreed that

Defendant DeWall would be entitled to a bonus of $ [REDACTED] payable within

15 days of December 31, 2020, which he would be required to pay back if he

terminated his employment within twenty-four months of receiving the bonus.

NuVasive attaches a copy of the document entitling Defendant DeWall to this bonus

as Exhibit 11.2

          51.     Defendant DeWall, in fact, received the $ [REDACTED] bonus.

Despite voluntarily terminating his NuVasive employment within twenty-four

months of receiving that payment, he has not returned it to NuVasive.

                     COUNT I – BREACH OF DUTY OF LOYALTY

          52.     NuVasive incorporates and reasserts paragraphs 1 through 51.

          53.     As a NuVasive employee and its face and direct line of contact to each

of its spine surgeon customers in Iowa, each Defendant owed NuVasive a duty of

loyalty.

          54.     Each Defendant breached his fiduciary duty to NuVasive by, without

limitation, soliciting the Methodist Surgeons (and perhaps others) to utilize

Competitive Implants, supporting the Methodist Surgeons’ (and perhaps others)




2
    Exhibit 11 contains confidential information and will be filed under seal once leave is granted.

                                                   13
     Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 14 of 19




utilization of those products in the operating room, and then not reporting the

Methodist Surgeons’ (and perhaps others) usage of the Competitive Products to

NuVasive.

      55.      Each Defendants’ breach of his duty of loyalty to NuVasive

proximately caused it to incur damages.

                   COUNT II – BREACH OF PIIAS (Damages)

      56.      NuVasive incorporates and reasserts paragraphs 1 through 51.

      57.      Defendants voluntarily entered into their PIIAs with NuVasive, each of

which is supported by adequate consideration including, without limitation:

      •     employment with NuVasive;
      •     access to NuVasive’s industry-leading training;
      •     access to NuVasive’s confidential and/or proprietary information; and
      •     access to NuVasive’s customer base and goodwill.

      58.      Defendants became the face of NuVasive to their customer base.

      59.      The PIIAs contain reasonable non-competition and non-solicitation of

employees (and in Defendant DeWall’s and Defendant Newell’s situations, non-

solicitation of customers) obligations.

      60.      The geographic scope and temporal terms of the non-competition and

non-solicitation are enforceable as they are limited to the Defendants’ collective

sales territory and last for only one year after their NuVasive employment

terminates.



                                          14
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 15 of 19




      61.     Defendant’s restrictions on soliciting NuVasive’s employees is

reasonable and enforceable.

      62.     NuVasive performed its obligations under each PIIA.

      63.     Defendants breached and continue to breach their non-solicitation and

non-competition obligations to NuVasive by, without limitation, directly and/or

indirectly:

      • soliciting or otherwise encouraging NuVasive’s employees and/or agents
        to leave NuVasive and join them at Stryker Spine;
      • soliciting and selling competitive products to their NuVasive Customers;
      • supporting the use of utilization of Stryker Spine’s products in the
        operating room; and
      • receiving purchase orders for the utilization of Stryker Spine’s products in
        order to help facilitate Stryker Spine’s sales of Competitive Implants
        within their restricted territories.

      64.     Defendants’ violations of their restrictive covenants have harmed and

continue to harm NuVasive.

              COUNT III – BREACH OF PIIAS (Injunctive Relief)

      65.     NuVasive incorporates and reasserts paragraphs 1 through 51.

      66.     NuVasive is entitled to the benefit of its bargain with each Defendant.

      67.     NuVasive is likely to succeed on the merits of its claims for breach of

duty of loyalty and breach of contract against each Defendant. Indeed, the PIIAs are

valid and binding contracts that are supported by adequate consideration, and no

cause exists for Defendants’ individual and collective failure(s) to comply with their

terms and conditions.
                                          15
      Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 16 of 19




      68.    NuVasive will suffer immediate and irreparable harm if it is not granted

injunctive relief. Money damages alone will not make NuVasive whole as, absent

an injunction, Defendants’ continued efforts will, among other things, cause

NuVasive to lose market share, rob NuVasive of the goodwill Defendants developed

on its behalf, and adversely affect its ability to compete fairly within Defendants

former shared sales territory.

      69.    Granting NuVasive injunctive relief will not harm Defendants, as it will

only require them to do what they are contractually obligated to do. Further, each

Defendant has received the benefit of his bargain with NuVasive and NuVasive

should not be deprived of the benefit of its bargain with each Defendant.

      70.    Issuing the requested injunction will benefit the public as it has an

interest in seeing reasonable and enforceable contractual obligations be enforced.

      71.    NuVasive is entitled to preliminary and permanent injunctive relief that

enjoins each Defendant from continuing to violate his PIIA.

         COUNT IV – BREACH OF REPAYMENT OBLIGATIONS
                     (DEFENDANT HARRISON)

      72.    NuVasive incorporates and reasserts paragraphs 1 through 51.

      73.    Defendant Harrison is contractually obligated to repay certain bonuses

and/or other payments NuVasive made to him.

      74.    Despite being contractually obligated to repay those bonuses and/or

other payments, Defendant Harrison has refused to do so.

                                         16
     Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 17 of 19




      75.      Defendant Harrison’s failure to repay the amounts owed to NuVasive

has resulted in damages to NuVasive.

            COUNT V – BREACH OF REPAYMENT OBLIGATIONS
                        (DEFENDANT DEWALL)

      76.      NuVasive incorporates and reasserts paragraphs 1 through 51.

      77.      Defendant DeWall is contractually obligated to repay certain bonuses

and/or other payments NuVasive made to him.

      78.      Despite being contractually obligated to repay those bonuses and/or

other payments, Defendant DeWall has refused to do so.

      79.      Defendant Harrison’s failure to repay the amounts owed to NuVasive

has resulted in damages to NuVasive.

                              PRAYER FOR RELIEF

      WHEREFORE, NuVasive respectfully requests that this Court:

      A.       issue preliminary and permanent injunctions which prohibit Defendants

from violating the non-competition and non-solicitation obligations in their PIIAs;

      B.       extend the temporal restrictions in the Defendants’ PIIAs by the length

of time they have not complied with their non-competition and non-solicitation

obligations;

      C.       find that Defendants’ violations of their PIIAs caused NuVasive to

incur damages;



                                          17
DocuSign Envelope ID: CE56C84C-9E02-4BDE-9FE7-B54DE9A8652F
                    Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 18 of 19




                    D.       hold that Defendants are required to repay the bonuses NuVasive paid

            to them in calendar year 2021 that are subject to claw-back;

                    E.       award NuVasive all of the damages it is entitled to receive;

                    F.       award NuVasive pre and post-judgment interest; and

                    G.       grant any other relief it deems just and proper.

                                                      VERIFICATION

                   I reviewed the allegations in this Verified Complaint and verify, under penalty
            of perjury, through either my personal knowledge or knowledge I acquired while
            investigating the issues giving rise to this dispute, that the factual allegations within
            it (other than when disclaimed with “on information and belief” or other similar
            language) the accuracy of the facts contained in it.

                                                                  ______________________________
                                                                  Jon Adams




                                                             18
Case 4:21-cv-00157-RP-HCA Document 1 Filed 05/27/21 Page 19 of 19




                       Respectfully submitted,

                       GULLETT, SANFORD, ROBINSON &
                       MARTIN, PLLC
                       150 Third Avenue South, Suite 1700
                       Nashville, TN 37201
                       Tel: (615) 244-4994
                       Fax: (615) 256-6339

                       By: /s/ William C. Scales, Jr.
                              William C. Scales, Jr.            AT0011052
                               wscales@gsrm.com

                       WHITFIELD & EDDY, P.L.C.
                       699 Walnut Street, Suite 2000
                       Des Moines, IA 50309
                       Telephone: (515) 288-6041
                       Fax: (515) 246-1474

                       By /s/ Jason M. Casini
                             Jason M. Casini         AT0001475
                             casini@whitfieldlaw.com


                       Motions for Admission Pro Hac Vice Forthcoming:


                       Christopher W. Cardwell, Esq.
                       Mary Taylor Gallagher
                       ULLETT, SANFORD, ROBINSON
                        & MARTIN, PLLC
                       150 Third Avenue South, Suite 1700
                       Nashville, TN 37201
                       Tel: (615) 244-4994
                       Fax: (615) 256-6339

                       Attorneys for NuVasive, Inc.



                                 19
